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                   EXHIBIT I
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. : 9 : 18-cv-80175-BB/BR


             IRA KLEIMANT ds the personal
             representative of the Estate of David
             Kleiman, and W&K Info Defense
             Research, LLC
                                  Plaintiffs, .
                       V

             CRAIG WRIGHT
                                      Defendant.


                                VIDEO-TAPED DBPOSITION OF

                                      DR. CRAIG    WRIGHT

                                              on

                                Wednesday, March 18, 2020

                                     At the offices of:
                                        SCA Ontier
                                       Halt.on House
                                       20-23 Holborn
                                      London EC1N 3JD
                                      United   Kingdom

             Taken by:
             AMY COLEY,    Court Reporter




                            MAGNA€     LEGAL SpRuces
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                                                                       Page 259
        1             A.      Yes. As I told my }awyers nrull-iple
        2    times and I have said in thls case multiple times,
        3    there is not 'an' encrypted file, there are
        4    multiple encrypted files; some of which I cannot
        5    get access to at the moment/ some of which I can.
        6             O.      So it should have said, "and key
        1    slice to unlock an encrypted fiIe"?
        B             A.      No, it should not. Being that I've
        9    been given a file that is not decrypted and access
       10    to others files and not access to everythi.g,
       11    I cannot go into any detail-s what has happened in
       I2    the background. I don't have that information.
       13             O.      So the key slice reference here is
       L4    noL t.he key slice you were discussinq in court; is
       15    that accurate?
       L6                        MR. RIVERO: Object to the form.
       L1    BY MR.      FREEDMAN:

       1B            O.      Let me rephrase that. Is the key
       I9    slice that is referred to here the same key slice
      20     you were referring in your testimony before the
      27     court   ?

       22            A.     I said there are multiPle key
       ZJ    slices and I said there are multiple encrypted
       24    files.  I have said that under my testimony.
       25    f don't have a list of which particular key slices




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                                                                       Page 260
        1    go witir wiiicii parLicular files, which particular
        2    people accessed which parti-cular things. I do not
        3    have a list of which accounts I can and cannot get
        4    access to at any particular time. I can get
        5    access to some accounts and I have given complete
        6    access now to t.he accounts that I have access to.
        1    As of January I have been able to access accounts
        B    associated with Wright and a number of the
        9    Australian entities.   We have access to accounts
       10    that have been given to lawyers from January
       11    sorry, ds of this January, to many of the
       I2    Australian entities and Austral-ian trusts, some of
       13    the overseas entities.   That dates from the period
       T4    of 2012 or sor right up until 2015 or '16.
       15                    We have access now to the Wright
       t6    International Investment accounts from the period
       77    of 2009 on. As soon as I was told that those
       1B    could be accessed, the access was grant.ed and
       1.9   given t.o the forensic people t.hat the lawyers
       20    mentioned, that my counsel have sort of hired.
       2I    I have no idea what they have done with them or
       22    what has happened after that.
       ZJ             O.     Dr. Wright, You said "accounts"
       24    here multiple times. What. do you mean by you have
       25    access to the accounts?




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                                                                       Page 26L
        1              A.     I mean the accounts, as in
        2    accounti-ng sof tware, general ledgers, balances,
        3    that sort of stuff.
        4             O.      You have no access to the actual-
        5    Bitcoin     strike that. Dr. Wright, where does
        6    the 800,000 and change Bitcoin you mined between
        1    2009 and 201,0 where is that currently? With
        B   what   company?
        9                       MR. RIVERO: Object to the form.
      10                  A.   That is owned, as it alwaYs has
      11     been right from the beginning, by Wright
      I2     fnternational InvesLments. That was mined, under
      13     a warrant condition, by Information Defense in
      I4     Ar-rst.ral i a. That was registered and started in
      l-5    January 2009. On the creaLiott of Wriglrt
      I6     International fnvestments that was done as a
      I1     transfer agreement. The original trust that owned
      1B     those companies was Cralg Wright R&D. The Craig
      79     Wright R&D trust entity was basically rolled into
      ZU     a new trust entity that was created to own the
      ZL
      -l     companies. That was created because I started
      22     relationship with Ms. Watts. My former trust , of
      23     course/ precluded that etc. So the Bitcoinr ds I
       24    said, have been in Wright Internati-onal
       z3    Investment.s the entire time.




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                                                                       Page 262
        1            O.           Dr. Wright, do you have a trust
        2    document from       July 7, 20L7 that is a trust
        3    agreement. for      the TuliP Trust?
        4            A.           I have been given a coPY of that
        5    document, yes.
        6            O.      Did you sign that document?
        1            A.      Yes, I signed the end of that
        I    document after negotiations with Baker & McKenzLel
        9    who are my lawyers and whatever else here in the
      10     UK. That was then given to Dennis and Ramona.
      11             O.      Did you read the t.rust document
      I2     before you signed it?
      13             A.      I went through multiPle coPies
      14     T don't remember if I read the final one or not.
      l5             0.      Dr. WrigirL, I arn goirrg to share
      I6     with you the document that your lawyers have
      I7     produced to us as Defense HC1518378. I'11 show
       18    you the first page here, which is        do you
       1.9   recognise this as t.hat document?
      20           (Exhibit Defense HC151B37B referred to)
      2t             A.      f do.
      22              O.     Can I refer to this as TuliP Trust
       z3    3, just because I know we have Tulip Trust 1 and
       24    Tulip Trust    2?

       25            A.           It is not actuallY a trust




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